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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                         Case No. 05-cr-215-PB

Larry Stallings, et al.


                                  O R D E R


     Defendant, Michael Wyatt, has moved to continue the February

6, 2007     trial in the above case, citing the need for additional

time to engage in plea negotiations or prepare for trial.                The

government and co-defendants do not object to a continuance of

the trial date.

     Accordingly, in order to allow the parties additional time

to negotiate a plea agreement or properly prepare for trial, the

court will continue the trial from February 6, 2007 to May 1,

2007.     In agreeing to continue the trial, the court finds

pursuant to 18 U.S.C.A. § 3161(h)(8)(A) that for the above-stated

reasons, the ends of justice served in granting a continuance

outweigh the best interests of the public and the defendants in a
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speedy trial.

      The January 18, 2007 final pretrial conference is continued

to April 19, 2007 at 4:00 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

January 16, 2007

cc:   Michael Smith, Esq.
      Ray Raimo, Esq.
      William Christie, Esq.
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      United States Probation
      United States Marshal




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